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Attorneys for Plaintiffs
Vifor (International) AG and
American Regent, Inc.

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


VIFOR (INTERNATIONAL) AG and
AMERICAN REGENT, INC.,                                         Civil Action No. 19-13955

                       Plaintiffs,                           Document Electronically Filed

        v.                                                 CORPORATE DISCLOSURE
                                                           STATEMENT OF PLAINTIFF
MYLAN LABORATORIES LTD.,                                  VIFOR (INTERNATIONAL) AG

                       Defendant.


        Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Plaintiff Vifor (International)

AG states as follows: Vifor (International) AG is a wholly owned subsidiary of Vifor Pharma AG.

Vifor Pharma AG is a publicly owned company, and no publicly held company owns 10% or more

of its stock.


Dated: June 18, 2019                                  s/ William P. Deni, Jr.
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